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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

   IN RE: ZANTAC (RANITIDINE)                                                                 MDL NO 2924
   PRODUCTS LIABILITY                                                                          20-MD-2924
   LITIGATION
                                                                JUDGE ROBIN L ROSENBERG
                                                        MAGISTRATE JUDGE BRUCE REINHART

   __________________________________/

   THIS DOCUMENT RELATES TO: ALL CASES

              AGREED ORDER GRANTING UNOPPOSED MOTION TO
            DROP KMART CORPORATION FROM MASTER COMPLAINTS

           THIS CAUSE came before the Court on Plaintiffs’ Co-Lead Counsel’s Unopposed

   Motion to Drop Kmart Corporation from Master Complaints [DE # 1691], without prejudice,

   pursuant to Pretrial Order # 40 [DE # 1498] and Federal Rule of Civil Procedure 21. 1 Having

   reviewed the Unopposed Motion, and being otherwise fully advised in the premises, it is hereby

   ORDERED and ADJUDGED that the Unopposed Motion is GRANTED. Defendant Kmart

   Corporation is dropped, without prejudice, from the following Master Complaints:

           1.      Master Personal Injury Complaint [DE # 887] at ¶ 180; and

           2.      Consolidated Consumer Class Action Complaint [DE # 889] at ¶ 389.

           DONE and ORDERED in Chambers, West Palm Beach, Florida, this 8th day of

   September, 2020.


                                                     ROBIN L. ROSENBERG
                                                     UNITED STATES DISTRICT JUDGE



   1
     “Master Complaints” refers collectively to the Master Personal Injury Complaint [DE # 887], Consolidated
   Consumer Class Action Complaint [DE # 889] and Third-Party Payor Class Complaint [DE # 888]. Pursuant to
   Pretrial Order # 40, the specific paragraph number(s) in the corresponding Master Complaint(s) affected by the
   modification are identified herein.
